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 5
 6 Attorney for Defendant
   TUY NGUYEN
 7
 8                           UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                              Cr. S-08-0390 GEB
12
                           Plaintiff,                       STIPULATION AND
13                                                          [PROPOSED] ORDER
                    vs.                                     CONTINUING STATUS
14                                                          CONFERENCE AND
     TUY NGUYEN, et al.,                                    EXCLUDING TIME UNDER
15                                                          THE SPEEDY TRIAL ACT
                           Defendants.
16
17         IT IS HEREBY STIPULATED between the United States of America, through its

18 attorney of record, Michael M. Beckwith, Assistant U.S. Attorney; Tuy Nguyen, through his
19 attorney, David W. Dratman; that the status conference scheduled for April 1, 2011, be
20 continued to May 6, 2011 at 9:00 a.m.
21         Defense counsel request the exclusion of additional time under the Speedy Trial Act,

22 because defense counsel is engaged in ongoing negotiations with the government regarding
23 a pretrial disposition, which counsel hopes to complete for entry of plea on May 6, 2011.
24         The parties stipulate and agree that the the interests of justice served by granting this

25 continuance outweigh the best interests of the public and the defendant in a speedy trial; and,
26 that time from the date of this stipulation, April 1, 2011 through and including May 6, 2011,
27 shall be excluded from computation of time within which the trial of this case must be
28 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)

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 1 and Local Code T4 (time for defense counsel to prepare and continuity of defense counsel).
 2 Dated: March 31, 2011                        /s/ David W. Dratman
                                                DAVID W. DRATMAN
 3                                              Attorney for Defendant
                                                TUY NGUYEN
 4
 5 Dated: March 31, 2011                        BENJAMIN B. WAGNER
                                                UNITED STATES ATTORNEY
 6
 7                                              By: /s/ Michael M. Beckwith
                                                   MICHAEL M. BECKWITH
 8                                                 Assistant U.S. Attorney
                                                   *Signed with permission
 9
10                                             ORDER
11         The Court, having considered the stipulation of the parties, and good cause appearing
12 therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
13 stipulation of the parties, the Court finds that the failure to grant a continuance in this case
14 would deny defense counsel reasonable time necessary for effective preparation, taking into
15 account the exercise of due diligence, and defendant’s continuity of counsel. The Court
16 specifically finds that the ends of justice served by the granting of such continuance outweigh
17 the interests of the public and that the time from the date of the stipulation, April 1, 2011, to
18 and including May 6, 2011, shall be excluded from computation of time within which the
19 trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
20 3161(h)(7)(A) and (B)(iv) and Local Code T4 (time for defense counsel to prepare and
21 continuity of defense counsel).
22          It is so ordered.
23 Dated: April 1, 2011
24
25
26                                           GARLAND E. BURRELL, JR.
                                             United States District Judge
27
28

              STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE...
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